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   1
                              UNITED STATES DISTRICT COURT
   2
                             CENTRAL DISTRICT OF CALIFORNIA
   3

   4   MEGAN SCHMITT, DEANA                      Case No. 8:17-cv-01397-JVS-JDE
       REILLY, CAROL ORLOWSKY, and
   5   STEPHANIE MILLER BRUN,
       individually and on behalf of             ORDER GRANTING
   6   themselves and all others similarly       STIPULATION TO MODIFY
       situated,                                 SCHEDULING ORDER
   7
                     Plaintiffs,                 The Hon. James V. Selna,
   8                                             Santa Ana, Courtroom 10C
              v.
   9                                             Complaint Filed: 8/17/17
       YOUNIQUE, LLC,
  10                                             Trial Date: February 19, 2019
                     Defendant.
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  13                                         ORDER
  14        The Court, having considered the parties’ stipulation and, and finding good
  15 cause to modify the scheduling order, hereby orders:

  16        The following dates and deadlines previously ordered by the Court on
  17 December 11, 2017 (minute order, Dkt. 56 & 56-1), and December 12, 2017 (Order

  18 on Jury Trial, Dkt. 57) are vacated, and shall be modified as follows:
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  20   Case Management Event:                Prior-Operative         NEW Date-
                                             Date-Deadline:          Deadline:
  21   Last day to schedule to commence      May 24, 2018            July 30, 2018
  22   the depositions of Plaintiffs Megan
       Schmitt, Deana Reilly, Carol
  23   Orlowsky and Stephanie Miller
  24   Brun and third-party Lori DeBell,
       and Rule 30(b)(6) deposition of
  25   Defendant Younique, LLC
  26   Last date for Plaintiffs to file      June 1, 2018            August 1, 2018
  27   motion for class certification

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                     ORDER GRANTING STIPULATION TO MODIFY SCHEDULING ORDER
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   1   Case Management Event:                   Prior-Operative       NEW Date-
                                                Date-Deadline:        Deadline:
   2   Last date to complete private            June 29, 2018         August 31, 2018
   3   mediation

   4
       Last date for Defendant to file          TBD                   September 21, 2018
       opposition to motion for class
   5   certification
   6   Last date for Plaintiffs to file reply   TBD                   October 5, 2018
       in support of motion for class
   7
       certification
   8
       Hearing on Plaintiffs’ motion for        August 20, 2018, at October 15, 2018, at
   9   class certification                      1:30 p.m.           1:30 p.m.
  10        Except as otherwise stated herein, the other dates and deadlines in the
  11 December 11, 2017 Minute Order (Dkt. 56 & 56-1) and Order re: Jury Trial (Dkt.

  12 57) shall continue to apply.

  13        IT IS SO ORDERED.
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  15 Dated: May 29, 2018

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  17                                            HON. JAMES V. SELNA
                                                UNITED STATES DISTRICT JUDGE
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                     ORDER GRANTING STIPULATION TO MODIFY SCHEDULING ORDER
